Case 13-20891-A.]C Doc 113 Filed 05/02/18 Page 1 of 2

UN|TED STATES BANKRUPTCY COURT
SOUTHERN DISTR|CT OF FLOR|DA
M|AN|[ DlVlS|ON

Www.flsb.uscourts.gov

 

ln re: Luis Ramirez, Case No. 13-20891~AJC
Chapter 13
Debtor /
CERTIF|CATE OF SERV|CE

 

| HEREBY CERT|FY that on May 2, 2018 a true and correct copy of Emergency
Hearing Requested Debtor’s |Vlotion for Approva| of Post Petition Financing [DE 112] Was
provided electronically to:

Patti H Bass on behalf of Creditor Capital One, N.A.
ecf@basS-associates.com

Andrew R. Herron on behalf of Creditor l_ansdowne Mortgage, LLC
aherron®herronortiz.com; ridrubin@herronortiz.com

Denise lVl. B|ackwe|| on behalf of Creditor Lansdowne l\/lortgage LLC
denise rzllaw.com

Nancy K. Neidich
e208f01@ch13herkert.com, ecf2@ch13herl<ert.com

Office of the US Trustee
USTPReqi0n21.MM.ECF@uSdoi.Clov _

and Sent by U.S. First class mail to:

Synchrony Bank

c/o F’RA Receivables lVlanagement, LLC
PO Box 41021

Norfoll<, VA 23541

Vivian A. Jaime, Esq.

Rittter1 Zaretsky, Lieber & Jaime, LLP
2915 Biscayne B|vd., S-300

l\./liami, FL 33137

Case 13-20891-A.]C Doc 113 Filed 05/02/18 Page 2 of 2

Luis Ramirez, Debtor
Case No. 13-20891-AJC

Pade 2

/

LEGAL SERV|CES OF GREATER
IVf|Ai\/|I, |NC.

By /S/

Caro|ina A. Lombardi

Florida Bar No. 241970

Attorney for Debtor

4343 West Flagler Street Suite 100

l\/liami, FL 33137

Telephone and Facsimile: (305) 438-2427
Email: CLombardl@leqalservicesmiami.orq
Alt: lVlCabrera@leqalservicesmiami.orq

